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Attomeys for Non-Party Journalist
William Meagher
LB

UNITED STATES DISTRICT COURT
NORTHERN DlSTRICT OF CALIFORNIA

SAN F CISCO DIVISIO
Re 1 13

- 1 'Z 53 0 ZGI\/IISC
John J. I-lurry and Justine Hurry, as husband and

)
wife; lnvestment Services Corporation, an ) ease NO' ]4'cV-04420“NC

Al"lZOl`la COl'pOl'a[lOI'l, BRICFM LLC d/b/a § DECLARATION OF JOHN M
Corner of Paradise lee Cream Store, a California ) BROWNING [N SUpPORT OF N()TICE
Limited Liability Company, ) OF MOTION AND MOTION OF TO

) QUASH SUBPOENA
Plaintit`fs,

§ Hearing Date:
vs. ) l-learing Time:
Financial Industry Regulatory Authority, Inc.,

Defendant.

\_/\_/\_/\-,/\\.,/

 

l, JOHN M. BROWNING, being oflawl`ul age and otherwise competent to testify in a
court of law, do hereby declare under penalty of perjury that the following is true and correct

pursuant to 28 U.S.C. §1746:

1. l am an associate at Davis Wright Tremaine LLP, counsel to non-party journalist
William Meagher. I intend to tile an application for admission to practice before this Courtpro

hac vice. l make this declaration based on my personal knowledge and submit this declaration,

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DECL, OF BROWNING lN SUPPORT OF MO'I`|ON TO QUASH
Casc No,
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together with the exhibits annexed hereto, in support of l\/lr. Meagher`s motion to quash a
subpoena served on him by the plaintiffs (“Plaintiffs”) in an action currently pending before the
United States District Court of Arizona. Hurry v. Financi`al Industry Regulalory Authorr`ty, Case

No. CV-14-02490-PHX-ROS (D. Ariz) (the "‘Arizona Action”).
THE ARIZONA ACTION

1. On August 29, 2016 Plaintiffs’ previous counsel in the Arizona Action filed a motion
to withdraw because they found themselves “ethically required to terminate their representation”
of Plaintiffs. Annexed hereto as Exhibit A is a true and correct copy of the motion for leave to
withdraw filed by Plaintiffs previous counsel in the Arizona Action, Dkt. No. 116. The law linn
of Harder Mirel| & Abrams subsequently appeared as counsel for Plaintiffs in the Arizona Action
on October 27, 2016. Arizona Action, Dkt. No. 134.

2. On February 16, 2017, the parties to the Arizona Action filed ajoint status report (the
“.loint Status Report”) indicating that the close of discovery was set for l\/larch 1, 2017. Annexed
hereto as Exhibit B is a true and correct copy of the Joint Status Report filed in the Arizona
Action, Dkt. No. 154. The Joint Status Report also indicates that the depositions of “the major
percipient witnesses” have not taken place and that these depositions will not take place until after
the March 1 close of discovery.

THE NEW YORK ACTION

3. On l\/lay 26, 2016, plaintiffs Scottsdale Capital Advisors Corp. and .lohn Hurry
(collectively, “Scottsdale Plaintiffs”) filed a summons with notice against Mr. Meagher and his
employer, The Deal LLC (collectively, the “Deal Defendants”), with the Supreme Court of the
State of New York, New York County through their counsel at that time, CKR Law (“CKR”).]
CKR have not appeared in connection with the action currently pending before this Court.

4. On .1 une 13, 2016, The Deal Defendants served a demand for complaint, which

required Scottsdale Plaintiffs to serve a complaint on The Deal Defendants within twenty days of

 

l Under the New York Civi| Practice Law and Rules (the “CPLR”), a plaintiff may serve a
summons with notice in lieu of a complaint, provided the complaint is subsequently served on the
defendant within the applicable time limit for doing so.

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service of the demand. The Deal Defendants repeatedly agreed to extend the time for Scottsdale
Plaintiffs to serve the complaint so that the parties could discuss whether it would be possible to
resolve the action without resort to further litigation.

5. During this period, l participated in a number of phone calls with Ronniel Levy, a
CKR lawyer representing Scottsdale Plaintiffs at the time, who informed me that his clients
wanted to know whether agents of the Financial Industry Regulatory Agency (“FlNRA”) had
provided Mr. Meagher with information about Scottsdale Plaintiffs. lvlr. Levy suggested to me
that Scottsdale Plaintiffs were willing to voluntarily dismiss their New York lawsuit provided The
Deal Defendants identify the unnamed sources Mr. Meagher relied on in his reporting about
Scottsdale Plaintiffs’ involvement in the Biozoom stock fraud for The Deal' Pr`peline. We
informed Mr. Levy that the applicable statutory reporters’ shield law provided The Deal
Defendants with an absolute privilege against being compelled to reveal the identity of their
confidential sources. See New York Civil Rights Law § 79-h(b). Accordingly, The Deal
Defendants refused to identify Mr. Meagher’s sources.

6. After the parties were unable to reach a resolution, Scottsdale Plaintiffs served The
Deal Defendants with their complaint on Septernber 7, 2016 (the “New York Complaint”). A true
and correct copy of the New York Complaint is annexed hereto as Exhibit C. The New York
Complaint alleges a single libel claim based on a Deal Pr`peline article published by Scottsdale
Defendants on May 28, 2015, which is not at issue in this lawsuit (the “May 28 Article”). The
New York Complaint also contains conclusory and unsupported allegations that Mr. Meagher’s
confidential sources for the May 28 Article were individuals “within FINRA or government
regulatory agencies that have discussed confidential information involving Plaintiffs” and that “the
identity of such sources would not be protected by the NYS ‘Shield’ laws” protecting the
anonymity of con fidential sources. Exhibit C at 11 24; see also id. at 11 20.

7. ln response to the New York Complaint, The Deal Defendants prepared to file a
motion to dismiss the New York Complaint for failure to state a claim. Scottsdale Plaintiffs were
aware of The Dea| Defendants’ intention to move for dismissal and stipulated to several

extensions of the deadline for filing the motion to dismiss. Without waming, on November 3,

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2016 -the day before Scottsdale Defendants’ were scheduled to file their motion to dismiss - The
Deal Plaintiffs voluntarily withdrew the New York Complaint. Annexed hereto as Exhibit D is a
true and correct copy of the notice of discontinuance without prejudice filed by CKR to withdraw
the New York Complaint. Because Scottsdale Plaintiffs failed to give any prior indication that the
New York action would be dismissed voluntarily, The Deal Defendants had practically finished
briefing their motion to dismiss before learning that they had expended a substantial amount
resources on futile motion papers.

THE NEW HAMPSHIRE ACTION

8. On November 18, 2016, the Scottsdale Plaintiffs filed a separate complaint against
Mr. Meagher and the DeaI with the Superior Court of New Hampshire, which alleged that the
December 9, March 20 and April 16 Articles gave rise to four claims: (1) defamation, (2) false
light invasion of privacy, (3) intentional interference with contractual relations and (4) tortious
interference with prospective economic advantage (the “New Hampshire Complaint”).

9. On December 22, 2016, The Deal Defendants removed the New Hampshire
Complaint to the United States District Court for the District of New Hampshire. See Scottsdafe
Capital Advisors Corp. v. The Deal' LLC, 16-cv-00545 (D.N.H.) (the “New Hampshire Action”).
On February 2, 2017, The Deal Defendants moved to dismiss the New Hampshire Complaint for
lack of personaljurisdiction. New Hampshire Action, Dl<t. 16. That motion will be fully briefed
on or before i\/larch 2, 2017.

THE SUBPOENA

10. Since counsel for Plaintiffs failed to contact Mr. Meagher or his attorneys to discuss
scheduling and other matters related to the Subpoena, as required by Local Rule 30.1, counsel for
Mr. Meagher sent a letter to all counsel of record for the Arizona Action on February 27, 2017
putting them on notice of Mr. l\/Ieagher’s intention to defend his rights by filing a motion to quash
the Subpoena (the “Letter”). Annexed hereto as Exhibit E is a true and correct copy of the Letter.
The Letter also appraised Plaintiffs of Mr. Meagher’s rights and requested that they withdraw the

Subpoena.

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1 1. 1 arn informed that Jordan Susman - an attorney for Plaintiffs and the individual who
signed the Subpoena - contacted Elizabeth McNamara 4 the lead partner representing Mr.
Meagher- for the first time on the morning of February 28, 2017. Mr. Susman offered to
voluntarily withdraw Plaintiffs document demand if Mr. Meagher agreed to attend a deposition
Without making a commitment, l‘vlr. Susman also indicated that he might be willing to restrict his
line of questioning to avoid requiring Mr. Meagher to divulge his confidential sources, asserting
that he had a right to ask Mr. Meagher to confirm he wrote the articles at issue and to ask general
questions about certain published statements (r'.e. whether they were opinion).

12. Ms. McNamara explained that, even assuming that the deposition would not delve into
Mr. Meagher’s sources and unpublished newsgathering materials (which is highly doubtful), the
deposition would still be improper because the only questions pertinent to the Arizona Action that
Mr. Meagher could be asked about relate to his confidential source(s), which he cannot be
compelled to testify about. The Arizona Action turns entirely on whether FlNRA WaS Mr.
Meagher’s confidential source: ifit was not, Plaintiffs’ claims against FINRA will be dismissed.
See Hurry v. Fr`rr. ]ndus. Reg. Au!h., CV-l4-02490, 2016 U.S. Dist. LEXlS 90147, at * 9-10 (D.
Ariz. Apr. 4, 2016). The judge in the Arizona Action expressly admonished the parties that she
would “very carefully circumscribe discovery to allow this case to quickly reach a resolution.” Id.
at *10-1 1. Mr. Meagher is not a party to the Arizon'a Action and the allegations of libel are
directed at FlNRA, not at him, so his general reflections on the articles at issue are not relevant.
Mr. Meagher has also affirmed that he wrote the articles at issue in his declaration accompanying
this motion, so any questions on that subject Would be redundant.

13. ln sum, since counsel for Plaintiffs is unable to depose Mr. Meagher on the one issue
relevant to their case {1`.e. Mr. Meagher’s sources), Ms. McNamara informed Mr. Susman that it
would be both contrary to the reporters’ privilege and the scope of discovery in the Arizona Action
to force Mr. Meagher to go through the motions of sitting for a futile deposition. l~lowever, it Was
agreed that the dialogue would continue. ln the interim, Ms. McNamara informed Plaintiffs’

counsel that the motion to quash would be filed, as noticed, to safeguard Mr. Meagher’s rights.

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DECL. OF BROWNING lN SUPPORT OF MOTION TO QUASH

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I declare under penalty of perjury under the laws of` the United States ofAmerica that

the foregoing is true and correct, Executed this 28th day of February, 2017 in New York, New

York.

DECL. OF BROWNING iN SU?PORT Oi-` MOT[O?\` TO QUASH
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H.aw....;

John M. Browning )/

 

